      Case 2:20-cr-00335-JCM-DJA               Document 120
                                                        119      Filed 01/31/25
                                                                       01/29/25    Page 1 of 3




 1   RENE L. VALLADARES
     Federal Public Defender
 2   State Bar No. 11479
     RICK MULA
 3   Assistant Federal Public Defender
     411 E. Bonneville, Ste. 250
 4   Las Vegas, Nevada 89101
     (702) 388-6577/Phone
 5   (702) 388-6261/Fax
     Rick_Mula@fd.org
 6
     Attorney for Francisco Javier Cosenza
 7
 8                                UNITED STATES DISTRICT COURT
 9                                       DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,                            Case No. 2:20-cr-00335-JCM-DJA
11
                     Plaintiff,                           STIPULATION TO CONTINUE
12
                                                          REVOCATION HEARING
             v.
13                                                        (Second Request)
     FRANCISCO JAVIER COSENZA,
14
                     Defendant.
15
16
             IT IS HEREBY STIPULATED AND AGREED, by and between Sue Fahami, Acting
17
     United States Attorney, and Brian Y. Whang, Assistant United States Attorney, counsel for the
18
     United States of America, and Rene L. Valladares, Federal Public Defender, and Rick Mula,
19
     Assistant Federal Public Defender, counsel for Francisco Javier Cosenza, that the Revocation
20
     Hearing currently scheduled on February 19, 2025, be vacated and continued to a date and time
21
     convenient to the Court, but no sooner than ninety (90) days.
22
             This Stipulation is entered into for the following reasons:
23
             1.      The parties have negotiated a potential resolution of this case, and the parties
24
     require additional time to finalize it.
25
             2.      The defendant is in custody and agrees with the need for the continuance.
26
             3.      The parties agree to the continuance.
     Case 2:20-cr-00335-JCM-DJA           Document 120
                                                   119        Filed 01/31/25
                                                                    01/29/25     Page 2 of 3




 1         This is the second request for a continuance of the revocation hearing.
 2         DATED this 29th day of January, 2025.
 3
 4   RENE L. VALLADARES                             SUE FAHAMI
     Federal Public Defender                        Acting United States Attorney
 5
 6
     By /s/ Rick Mula                               By /s/ Brian Y. Whang
 7   RICK MULA                                      BRIAN Y. WHANG
     Assistant Federal Public Defender              Assistant United States Attorney
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
                                                   2
      Case 2:20-cr-00335-JCM-DJA           Document 120
                                                    119           Filed 01/31/25
                                                                        01/29/25   Page 3 of 3




 1                               UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                           Case No. 2:20-cr-00335-JCM-DJA
 4
                    Plaintiff,                           ORDER
 5
            v.
 6
     FRANCISCO JAVIER COSENZA,
 7
                    Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the revocation hearing currently scheduled for

11   February 19, 2025 at 10:00 a.m., be vacated and continued to May 21, 2025 at the hour of

12   10:00 a.m.; or to a time and date convenient to the court.

13          DATED this ___ day
                  January   31,of2025.
                                  January, 2025.

14
15
                                                  UNITED STATES DISTRICT JUDGE
16
17
18
19
20
21
22
23
24
25
26
                                                     3
